                IN THE COURT OF CRIMINAL APPEALS
                            OF TEXAS
                                         NO. WR-82,815-01


                      EX PARTE CORDERRAL JOHN SMITH, Applicant


                  ON APPLICATION FOR A WRIT OF HABEAS CORPUS
                 CAUSE NO. CR28321-A IN THE 253RD DISTRICT COURT
                             FROM LIBERTY COUNTY


        Per curiam.

                                            OPINION

        Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the

clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte

Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of capital murder

and sentenced to imprisonment for life. The Thirteenth Court of Appeals affirmed his conviction.

Smith v. State, No. 13-10-00552-CR (Tex. App.—Corpus Christi Apr. 12, 2012) (not designated for

publication).

        Applicant contends, among other things, that appellate counsel failed to notify Applicant that

his conviction had been affirmed and failed to advise him of his right to petition for discretionary
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review pro se. We remanded this application to the trial court for findings of fact and conclusions

of law.

          The trial court has entered findings of fact and conclusions of law that appellate counsel

failed to timely notify Applicant that his conviction had been affirmed. The trial court recommends

that relief be granted. Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).

          We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition

for discretionary review of the judgment of the Court of Appeals in case number 13-10-00552-CR

that affirmed his conviction in cause number CR28321 from the 253rd District Court of Liberty

County. Applicant shall file his petition for discretionary review with this Court within 30 days of

the date on which this Court’s mandate issues. Applicant’s remaining claims are dismissed.



Delivered: November 16, 2016
Do not publish
